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                                    UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
       ROBERT ROSS,
                                                                 4:19-CV-06669 (JST)
                                                        &DVH1RBBBBBBBBBBBBBBB
 
                                     Plaintiff(s),      APPLICATION FOR
                                                       ADMISSION OF ATTORNEY
              v.
                                                        PRO HAC VICE
                                                       (CIVIL LOCAL RULE 11-3)
      AT&T MOBILITY, LLC
 
                                     Defendant(s).
 
         I, Ashley E. Johnson                     , an active member in good standing of the bar of
             Texas                , hereby respectfully apply for admission to practice pro hac vice in the
   Northern District of California representing: AT&T Mobility, LLC                           in the
                                                                 Marcellus McRae
     above-entitled action. My local co-counsel in this case is __________________________________,     an
   attorney who is a member of the bar of this Court in good standing and who maintains an office
   within the State of California.
       MY ADDRESS OF RECORD:                              LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
    Gibson, Dunn & Crutcher LLP                         Gibson, Dunn & Crutcher LLP
      2001 Ross Avenue, Ste 2100                          333 So. Grand Avenue
    Dallas, Texas 75201                                 Los Angeles, CA 90071
       MY TELEPHONE # OF RECORD:                          LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
    (214) 698-3100                                      (213) 229-7000
       MY EMAIL ADDRESS OF RECORD:                        LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
      ajohnson@gibsondunn.com                               mmcrae@gibsondunn.com

        I am an active member in good standing of a United States Court or of the highest court of
   another State or the District of Columbia, as indicated above; my bar number is: 24067689     .
       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.

         I declare under penalty of perjury that the foregoing is true and correct.

      Dated: December 30, 2019                                      /s/ Ashley E. Johnson
                                                                              APPLICANT


                                      ORDER GRANTING APPLICATION
                              FOR ADMISSION OF ATTORNEY PRO HAC VICE
       IT IS HEREBY ORDERED THAT the application of Ashley E. Johnson                          is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
   designated in the application will constitute notice to the party.

     Dated:     January 2, 2020

                                                           UNITED STATES DISTRICT/MAGISTRATE JUDGE

     PRO HAC VICE APPLICATION & ORDER                                                                 October 2012
